      "IN THE UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION"


ROBERT THOMAS IRVIN                                      CIVIL ACTION 3:19-CV
100 Short Stacker Drive
Clarksville, Tennessee 37040-3371

      Plaintiff,

VS.

THE CITY OF CLARKSVILLE,
a municipal corporation upon relation of
MONTGOMERY COUNTY, TENNESSEE
CITY MAYOR JOE PITTS
102 Public Square — Fourth Floor
Clarksville, Tennessee 37040, and
COUNTY MAYOR JIM DURRETT
1 Millennium Plaza — Suite 205
Clarksville, Tennessee 37040, and
 AUSTIN PEAY, VII, Esq. (BPR #16245)
the duly constituted Delinquent Tax Attorney
for said County, 121 South Third Street
Clarksville, Tennessee 37040, and
THE MONTGOMERY COUNTY CHANCERY
COURT CLERK'S OFFICE
ATTN: CLERK AND MASTER
2 Millennium Plaza — Suite 101
Clarksville, Tennessee 37040, and
JUDGE TED A. CROZIER, JR.
2 Millennium Plaza — Suite 101
Clarksville, Tennessee 37040, and
THE STATE OF TENNESSEE and
GOVERNOR BILL LEE
The State Capitol
600 Charlotte Avenue - First Floor
Nashville, Tennessee 37243

      Defendant's.


                                    "AN COMPLAINT"




          Case 3:19-cv-00157 Document 1 Filed 02/19/19 Page 1 of 12 PageID #: 1
         COMES NOW, ROBERT THOMAS IRVIN/Plaintiff, an Indigent, 74 year old, Afro-Ameri-

cam, Male, a member of a minority group of the most controversial and hated American Citizen in Am-

erica is living on a fixed income set by the government comes to this court in reference to setting a

precedence in this court with 42 U.S.C., Code Civil Rights #1983 deprivation of rights t alleging that

Judge Ted A. Crozier, Jr./Defendant engaged in unconstitutional conduct that restricted Irvin/Plaintiffs'

First and Fourteenth Amendment rights by acting with "conflict of interest" when Judge Crozier, Jr./

Defendant should have rescued himself from hearing case MC CH CV CD-18-37 at "THE CHANCE-

RY COURT FOR THE NINETEENTH DISTRICT FOR MONTGOMERY COUNTY, TENNESSEE

AT CLARKSVILLE" because any and all allegations made by herein Plaintiff occurred when and wh

-ile Judge Crozier, Jr./Defendant was Clerk And Master making his current position possible that addre

-sses his former acts.' And, Plaintiffs' Objections To "ORDER" Of W. Timothy Harvey, BPR #104-

69"3 were returned to Plaintiff stating "Etc.... for the signature Judge Ted A. Crozier, Jr. [Defendant]

was reviewed by him and he declined to sign such document. Thus it it being returned to you. " hereto

attached as EXHIBIT I, I(a) & I(b) dated Feb. 7, 2019 signed by current Clerk & Master, Michael W.

Dale with enclosures: "Plaintiffs' Objections To "ORDER" Of W. Timothy Harvey, BPR#010469" and

"Bill Of Cost". It sadly appears Defendant is only interested in collecting unjust court cost believing

that because he is a judge, he and the system ignore the law using the "color of law" to evade the law.


1 THE CIVIL RIGHTS ACT OF 1871 is a federal statute, numbered 42 U.S.C. #1983, that allows people to sue the
  government for civil rights violations. It applies when someone acting "under color law" state-level local law has
  deprived a person [IRVIN] of rights created by The U.S. Constitution or federal statutes.
  While section 1983 damages are based on common law concepts, they are not dependent on the law of the forum st-
  ate... Punitive damages are, available against individual defendants [JUDGE CROZIER, JR.] where plaintiff es-
  tablishes actions were either intentional or committed with reckless or callous disregard for the plaintiff's rights.

2 IRVIN vs. THE CITY OF CLARKSVILLE ET AL., case no. MC CH CV CD-18-37, "IN THE CHANCERY CT.
   FOR THE NINETEENTH JUDICIAL DISTRICT FOR MONTGOMERY COUNTY, TN AT CLARKSVILLE",
   "T.C.A., Rule 59-04 MOTION TO ALTER OR AMEND A JUDGMENT", filed Feb. 8, 2019, Judge Crozier, Jr.

3 ATTORNEY D. MARK NOLAN, BPR#15859, BATSON & NOLAN, PLC, represents THE CITY OF CLARKS-
  VILLE & MAYOR JOE PITTS at 121 South Third St., Phone #(931) 647-1501, FAX (931) 553-0153, Clarksville
  Tennessee 37040.


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                                           L LEGAL STANDARD


         In considering a motion to dismiss, "the material allegations of the complaint are taken as ad-

miffed," Jenkins vs. McK.eithen, 395 U.S. 411, 421 (1969) (citation omitted), and the court may consi

-der exhibits to the complaint, Fayetteville Investors vs. Commerical Builders, Inc., 936 F.2d 1462,

1465 (4t" Cir. 1991). Moreover, "the complaint is to be liberally construed in favor ofplaintiff. " Id.;

see also Board Of Trustees vs. Sullivant Avenue Props., LLC, 508 F. Supp. 2D 473.475 (E.D. Va. 20

-07).

                                              II. ANALYSIS


          Plaintiffs' "AN COMPLAINT" contains the following "civil right violations" counts:

1. COUNT I Violation of 42 U. S. Code Civil Rights #1983 (against Irvin/Plaintif )

2. COUNT 2 Violation of First and Fourteenth Amendments (against Irvin/Plaintiff)

3. COUNT 3 Violation of "conflict of interest" (against Irvin/Plaintiff)

4. COUNT 4 Violation of Plaintiffs' Objection To "ORDER" (against Irvin/Plaintiff)

5. COUNT 5 Violation to "Bill Of Costs" (against Irvin/Plaintiff)

6. COUNT 6 Violation of Procedural Due Process with reckless or callous disregard for the Plaintiffs

                rights (against Irvin/Plaintiff)

7. COUNT 7 Violation of First Amendment and Substantive Due Process — Free Speech

               (against Irvin/Plaintiff)

8. COUNT 8 Violation of Procedural Due Process (against Irvin/Plaintiff)

9. COUNT 9 Violation of Equal Protection (against Irvin/Plaintiff)




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     III. WHETHER ANY OF PLAINTIFFS' CLAIMS ARE BARRED BY RES JUDICATA

         In considering the preclusive effect of a state court's dismissal with prejudice, federal courts ap

-ply applicable state law rules. See 28 U.S.C. # 1783 (State judicial proceedings "shall have the sa-

me full faith and credit in every court within The United States ... as they have by law or usage

in the courts of such State ... from which they are taken.");

         The Tennessee Court Of Appeals noted the required elements that must be established by a par

-ty asserting a res judicata defense as follows:

(1) a court of competent jurisdiction rendered the prior judgment,

(2) the prior judgment was final, (3) the same parties or their privies were involved in both proceedings

and (4) both proceedings involved the same cause of action.

          The previous court was bias and acting with a conflict of interest;

         The dismissal with prejudice was unjust and used to hide the facts of "conflict of interest";

        The same parties are involved with both proceedings with Defendant's becoming a judge;

        The proceedings involved a different cause of action "violation of I s' & 14'x' Amendments;

       The same cause of action does not apply to both proceedings there is `justifiable controversy"

       The willful misconduct or gross negligence of Judge Crozier, Jr. was intentional constitutes

"intentional and/or willful misconduct or gross negligence ";

      The issue is not whether Judge Crozier, Jr./Defendant was correct of justified in his decision to

take these actions or exercise his authority appropriately but whether Plaintiffs' allegations are suffici-

ent to make plausible his claims that they engaged in intentional or willful misconduct or gross neglig-

ence to overcome dismissal based upon sovereign immunity.

      "As the qualified immunity defense has evolved, it provides ample protection to all but the plain-

ly incompetent or those who knowingly violate the law. " Malley v. Briggs, 475 U.S. 335, 341 (1986)

as Judge Crozier, Jr./Defendant has done herein. Specifically, "qualified immunity shields governme-



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nt officials performing discretionary functions from personal-capacity liability for civil damages

under # 1983, insofar as their conduct does not violate clearly established statutory or constitut-

ional rights of which a reasonable person would have known." Ridpath vs. Board Of Governors

Marshall University, 447 F.3d 292, 306 (4' Circuit 2006) (citation omitted). In regard, the Court mu-

st consider (1) whether the allegations underlying Plaintiffs' claims, if true, would constitute violation

-s of federal statutory or constitutional rights and (2) whether those violations were of "clearly establi-

shed rights", "of which a reasonable person [such as a judge] would have known."

        This Court does not have original subject matter jurisdiction over Plaintiffs' state law "breach

of contract" lawsuit' that had to be filed twice in 2018. The original filed date was March 9, 2018 was

dismissed by Judge Ross H. Hicks because the case number was not forwarded and Debbie Bryant, De-

puty Court Clerk at The Clerk And Master's Office/Defendant advised Irvin/Plaintiff to hand carry his

subpoena's of each Defendant and serve them or pay The Sheriffs Office $50.00 approx. for each De-

fendant to be served which turned out to be illegal and case was dismissed pursuant T.C.A. Rule # 4.01

Thereafter it was refiled October 11, 2018 bring this litigation to the current state of litigation herein.

       WHEREFORE, PLAINTIFF RESPECTFULLY PRAYS that this Court:

1. Allow this "AN COMPLAINT" to be heard;

2. Allow Irvin/Plaintiff to proceed as an Indigent;

3. Allow this "AN COMPLAINT" to set a precedent pursuant cases dismissed with prejudice;

4. Allow no clandestine contracts between local governments and/or any of the legal and/or

   representatives of the City and/or local governments;

5. Allow the entering of a decree:

   (a) preliminarily and permanently enjoining the Plaintiffs' to the "civil rights"


4 IRVIN vs. THE CITY OF CLARKSVILLE ET AL., case no. MC CH CV CD18-37, filed Oct. 11, 2018 "AN
   ORIGINAL COMPLAINT", "IN THE CHANCERY COURT FOR THE NINETEENTH JUDICIAL DISTRICT
   FOR MONTGOMERY COUNTY, TENNESSEE AT CLARKSVILLE", Judge Ted A. Crozier, Jr.

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   afforded pursuant to "adverse possession" secured pursuant to THE UNITED STATES CONSTIT-

   UTION and THE STATE OF TENNESSEE DECLARATION OF RIGHTS;

6. Allow the "precedent" sought throughout this litigation;

7. Allow Plaintiff "Compensatory Damages" T.C.A. #29-39-102 of five thousand dollars ($5,000.00)

   for each year Plaintiff was not allowed "adverse possession" under the color of law for 105 Stacker

   Drive in Clarksville, Tennessee;

8. Allow Plaintiff "Punitive Damages" T.C.A. # 29-39-104 of ten thousand dollars ($10,000.00) for

   each year Plaintiff was not allowed "adverse possession" under the color of law for 105 Stacker

   Drive in Clarksville, Tennessee;

9. Allow and/or consider the fact that Plaintiff tried to settle this situation before it became a legal

   matter;

10.Allow the cost of this litigation to be charged to the herein named Defendant's;

11.Allow further, additional and/or alternative relief as may appear to the Court as to be equitable and

   justifiable.


                                             Respectfully Submitted,


                                             By:
                                                   RO ERT THOMAS IRVIN, Indigent
                                                   100 Short-Stacker Drive
                                                   Clarksville, Tennessee 37040-3371
                                                   Phone No. (931) 820-4364
                                                   Date: February        2019




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                                            ~.l'          Montgomery
                                                                ~,,,,JJ/ County Court Center
                                                                                      ,,,,,JJJ !
                                                          Two Millennium Plaza Suite 101
                                                               Clarksville, Tn. 37040
        Michael W. Dale                                                                               Phone (931) 648-5703
        Clerk and Master                                                                                Fax (93:1) 648-5759




 February 7, 2019
 Robert Thomas Irvin
 100 Short Stacker Drive
 Clarksville, TN 37040

RE:     Irvin v. City of Clarksville et al.
        MCCHCVCD 1837

Dear Mr. Irvin:

The "Plaintiffs' Objections to "Order" of W. Timothy Harvey, BPR # 010469" for the signature
of Judge Ted A. Crozier, Jr. was reviewed by him and he declined to sign such document. Thus
it is being returned to you.

Enclosed please find a bill of cost for unpaid fees owed to this Court. Please contact Jan Hinkle
regarding arrangements for payment.

ThaAk you for your attention to this matter.

Most sincerely,



Michael W. Dale
Clerk and Master, Montgomery County Chancery Court

Enclosures:    "Plaintiffs' Objections"
               Bill of Costs

Cc:    Lance A. Baker
       W. Timothy Harvey
       D. Mark Nolan



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       "IN THE CHNACERY COURT FOR THE NINETEENTH JUDICIAL, DISTRICT FOR
                       MONTGOMERY COUNTY, TENNESSEE
                              AT CL,ARKSVILL.E"


 ROBERT THOMAS IRVIN                                                 CASE NO. MC CH CV CD-18-37
 100 Short Stacker Drive
 Clarksville, Tennessee 37040                                         JUDGE TED A CROZIER JR.

        Plaintiff,

 vs.

 THE CITY OF CLARKSVILLE,
 a municipal corporation upon relation of
 MONTGOMERY COUNTY, TENNESSEE
 CITY MAYOR KIM McMILLAN.
102 Public Square — Fourth Floor
Clarksville, Tennessee 37040, and
COUNTY MAYOR JIM DURRETT
1 Millennium Plaza — Suite 205
Clarksville, Tennessee 37040, and
AUSTIN PEAY VII, Esq. (BPR #16245)
the duly constituted Delinquent Tax Attorney
for said County, 121 South Third Street
Clarksville, Tennessee 37040, and
THE MONTGOMERY COUNTY CHANCERY
COURT CLERK'S OFFICE
ATTN: CLERK AND MASTER
2 Millennium Plaza — Suite 101
Clarksville, Tennessee 37040, and ET AL.,

       Defendant's.


                                "PL,AINTIFFS'OBJECTIONS TO
                                             "ORD
                             W. TIMOTHY HARVEY, BPR # 010469"


       Now comes ROBERT THOMAS IRVIN/Plaintiff and moves this Court with objections pursuant

to "ORDER' of Defendant's counsel W. Timothy Harvey that seeks unjust time barred statute of limit

-ations pursuant to the actions and facts of law that have been unjustly performed by herein listed De

-fendanfs that attorney Harvey represents:



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 1. That Irvin/Plaintiff states hopefully for the last time to this Court -

     a. That on October 30, 2003 Plaintiff purchased 105 Stacker Drive' "',-

     b. That this purchase became almost immediately a "adverse possession " when Plaintiff was infor-
        med of $4,500 was due pursuant to purchasing 105 Stacker Drive;

     c. That any and all actions performed by Defendant's were and are in violation of The Tennessee
        Statute Of Limitations because Plaintiff was legally covered by T.C.A. # 28-2-1013 by the time
        Defendant's herein made any type of allegation's against herein Plaintiff,

     d. "In Tennessee, as in most states "adverse possession" can be proven when the trespasser or
        squatter has been openly in possession of the property for a specified length of time ...
        Plaintipurchased 105 Stacker Drive on October 30, 2003 so by October 5, 2011' was sold ill-
        egally by ORDER of Chancellor Laurence McMillan, Jr, for Sl, 827.46 to Montgomery County,
        Tennessee is ignoring and illegally violating T C.A. #28-2-101 "adverse possession "s
        .... continuous for the statutory period (which is either seven (7) or twenty (20) years, in TN
        depending on the circumstances). January 19, 2017."

2. That the addition of Chancellor Laurence M. McMillan, Jr. and The State Of Tennessee and Gover-

nor Of Tennessee Bill Lee as defendants is a matter paramount and most certainly germane to the facts

of this litigation that has no moot and/or pretermitted allegations that magnify or linger in the past but

rather has only current violations that do not concur with current laws of Tennessee or The U.S. Cons-

titutions Of Tennessee Or The United States'.




1 IR VIN vs. THE CITY OF CLARKSVILLE ET AL case no. MC CH CV CD-18-37, "AN COMPLAINT", page 4,
  paragraph 2, item 1 filed October 11, 2018, Judge Ted A. Crozier, Jr.;

& 2 Also see paragraph 2, item 2 footnote 6, page 4 of "AN COMPLAINT", Judge Ted A. Crozier, Jr.;

3 T.C.A., Title 28, Limitations Of Actions # 28-2-101 in "AN COMPLAINT", page(s) 2, 5 do 9

4 IRVIN vs. THE CITYOF CLARKSVILLE ET AL case no. MC CH CV CD-18-37, "AN COMPLAINT"filed Octo-
   ber 11, 2018, page 7, paragraph 12, Judge Ted A. Crozier, Jr.;

5 IR VIN vs. THE CITY OF CLARKSVILLE ET AL. case no. AIC CH CV CD-18-37, "AN COMPLAINT" filed Octo-
  ber 11, 2018, Judge Ted A. Crozier, Jr.;

6 IRVIN vs. THE CITY OF CLARKSVILLE ET AL case no. MC CH CV C➢-18-37, "AN COMPLAINT"filed Octo-
   ber 11, 2018, page 2, T.C.A. #28-3-109 & #28-3-110 & #28-2-101, Judge Ted A. Crozier, Jr;



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         THEREFORE, from the documented laws and facts documented in this litigation and opposed

 throughout and herein this PLAINT"IF'F''S OBJECTIONS TO "ORDER" supported by Defendant's

 Counsel seeking that this litigation be ORDERED, ADJUDGED and DECREED dismissing all docu-

 mented facts of law that have and are being presented by pro se Plaintiff be dismissed with prejudice

is unjust and not in concert with the law(s) documented throughout this litigation by Plaintiff another

minority seeking that ever illusive thing called a just day in Court in the American South should not be

laughable but laughter is all that is left in this instance. The plea for a dismissal with prejudice and a

final ORDER not to address documented facts is not only unjust but makes Plaintiff want to ask where

is The Candid Camera being hidden but there is no Candid Camera in this the new America.

        All costs of this litigation should be charged to the herein Defendant's using taxpayers money to

pay their counsel for trying to cover up their too obvious defects pursuant to the law.


       ENTER this the             day of                                     , 2019.




                                                     JUDGE TED A. CROZIER, JR,


APPROVED FOR ENTRY:

ROBERT THOMAS IRVIN, Indigent


By:        t,                                  .,     Cam'
      ROBtRT THOMAS IRVIN, Indigent
      100 Short Stacker Drive
      Clarksville, Tennessee 37040-3371
      Phone No. (931) 820-4364




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                                  "CER'TIFICA'TE OF SERVICE"

     A copy of the foregoing has been carried by hand of ROBERT THOMAS IRVIN due to his poverty
 to the following listed beloiv:

LANCE A. BAKER, BPR#15152
Attorney For Def'endant's
THE CITY OF CLARKSVILLE, and
CITY MAYOR KIM Mc MIL LAA'
1 Public Square — Fourth Floor
Clarksville, Tennessee 37040, and

W. 'TIMO'THY HARVEY, BPR#10469
LAW OFFICE OF W. TIMOTHYHARVEY
Attorney For Defendant's
COUNTY MAYOR JIM DURRETT,
AUSTIN PEAY, VII, and
THE MONTGOMERY COUNTY CHANCERY
COURT CLERK OFFICE
310 Franklin Street
Clarksville, Tennessee 37040,
Phone No. (931) 552-0549
FAX (931) 552-0559, and

D. MARK NOLAN, BPR#15859
BATSON NOLAN, PLC
Attorney For Defendant's
THE CITY OF CLARKSVILLE &
MAYOR KIM McMILLAN
121 South Third Street
Clarksvillee, Tennessee 37040
Phone No. (931) 647-1501
FAX (931) 553-0153
                                                                              C; \
on this the V day of February, 2019.
                                                ROBERT              IR~Indigent




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         Case 3:19-cv-00157 Document 1 Filed 02/19/19 Page 11 of 12 PageID #: 11
                                                                                            Billing Questions
    .agomery County Chancery Court                                                             Please Call
  jerk & Master                                                                              (931) 648-5703
 Cwo Millennium Plaza
 >uite 101                                                                                 Case Number
 Clarksville, TN 37040                                                                MC CH CV CD 18 0000037

 RVIN, ROBERT VS. THE CITY OF CLARKSVILLE,
                                                                                              Amount Due


                                                                                               $581.50
 Statement Date: 02/05/2019

 ROBERT T. IRVIN
 100 SHORT STACKER DRIVE
 CL-ARKSVILLE, TN 37040


                                                  BILL OF COSTS
                                               UNPAID COURT COSTS
                                               & SHERIFF SERVICES


                                               Amount Due        I Due Date
                                                $581.50          ICURRENTI



         :Mail payments to: Montgomery County Chancery Court, Two (Millennium Plaza, Clarksville, TN 37040
                            For questions regarding your account, please call (931) 645-5703.




                                            Return lower portion with payment
02/05/2019
                                                     Please indicate amount enclosed and any address change below:
ROBERT T. IRVIN
100 SHORT STACKER DRIVE                               Amount Enclosed:           $
CLARKSVILLE, TN 37040




IRVIN, ROBERT VS. THE CITY OF CLARKSVILLE, New Address:
Case #: MC CH CV CD 18 0000037

Cash, Cashiers Check or Money Orders Only



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